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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 20-20079-CIV-SINGHAL/LOUIS

  BRUCE MUNRO and
  BRUCE MUNRO, LTD.,

         Plaintiffs,

  vs.

  FAIRCHILD TROPICAL BOTANIC
  GARDEN, INC., et al.,

       Defendants.
  ____________________________________/

                                           ORDER

         THIS CAUSE has come before the Court upon Plaintiffs’ Unopposed Motion to

  Defer Costs and Fee Matters during Pending Appeal (DE [229]), filed on March 2, 2022.

  Deferral of matters related to fees and costs under Fed. R. Civ. P. 54(d) is warranted in

  view of the appeal on the merits of this action (DE [222, 223]) that is now pending before

  the Eleventh Circuit. When an appeal has been filed, the Court may address matters

  subject to a motion under Rule 54(d), including the requested Bill of Costs (DE [224]), by

  “defer[ing] ruling on the motion until the merits appeal is concluded.” 1993 Advisory

  Committee notes to Fed. R. Civ. P. 54(d). Resolution of the pending appeal may obviate

  potentially complex cost and fee issues, and if the Court were to decide these issues

  while an appeal remains pending, it would likely be necessary to repeat this procedure

  following the appeal. Accordingly, it is hereby

         ORDERED AND ADJUDGED that
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     1. Plaintiffs’ Unopposed Motion to Defer Costs and Fee Matters during Pending

        Appeal (DE [229]) is GRANTED.

     2. Matters for relief under Fed. R. Civ. P. 54(d), including costs or fee motions, are

        DEFERRED until the conclusion of the pending appeal in this action. Following the

        appeal’s conclusion, the Parties shall, if necessary, agree on and propose to the

        Court a briefing schedule for motions under Rule 54(d).

     3. The pending Bill of Costs (DE [224]) is DENIED WITHOUT PREJUDICE.



        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 3rd day of

  March 2022.




  Copies furnished counsel via CM/ECF and
  Hon. Lauren F. Louis
